Case 8:22-cv-00986-TPB-SPF      Document 205    Filed 06/20/25   Page 1 of 3 PageID 3082




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

   GAWAIN BAXTER, LAURA
   BAXTER and VALESKA PARIS,

            Plaintiffs,

   v.
                                                Case No: 8:22-cv-986-TPB-JSS
   DAVID MISCAVIGE, CHURCH OF
   SCIENTOLOGY
   INTERNATIONAL,
   INC., RELIGIOUS TECHNOLOGY
   CENTER, INC., IAS
   ADMINISTRATIONS, INC.,
   CHURCH OF SCIENTOLOGY
   FLAG SERVICE ORGANIZATION,
   INC. and CHURCH OF
   SCIENTOLOGY FLAG SHIP
   SERVICE ORGANIZATION, INC.,

            Defendants.

                          UNOPPOSED MOTION
                TO WITHDRAW APPEARANCE OF ELIAS A. KOHN
           Pursuant to Local Rule 2.02, I respectfully request leave to withdraw

  my appearance as counsel for Plaintiffs in the above-captioned action and

  direct the Clerk to terminate my ECF noticing.

           Pursuant to Rule 2.02(c)(1)(A), I certify that I have provided fourteen

  days’ notice to the Plaintiffs and that the Plaintiffs consent to my

  withdrawal.




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Case 8:22-cv-00986-TPB-SPF      Document 205    Filed 06/20/25   Page 2 of 3 PageID 3083




           The withdrawal will not result in the Plaintiffs proceeding pro se.

  Plaintiffs will continue to be represented by Joseph C. Kohn and Zahra Dean

  of Kohn, Swift & Graf P.C.; Gregory P. Hansel, Shana M. Solomon, and

  Elizabeth F. Quinby of Preti Flaherty Beliveau & Pachios, Chartered, LLP;

  Theodore Leopold, Manuel J. Dominguez, Agnieszka M. Fryszman, and

  Brendan Schneiderman of Cohen Milstein Sellers & Toll PLLC; Shelby

  Leighton of Public Justice; and Warren A. Zimmerman.

           The withdrawal will not result in a continuance of a trial.

           WHEREFORE, I respectfully request the Court grant my motion to

  withdraw as counsel for Plaintiffs.

                          Local Rule 3.01(g) Certification

           I have conferred with counsel for the opposing parties and represent

  they do not oppose my withdrawal.


  Dated: June 20, 2025                          Respectfully submitted,

                                                /s/ Elias A. Kohn
                                                Elias A. Kohn

                                                Attorney for Plaintiffs




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                                            2
Case 8:22-cv-00986-TPB-SPF      Document 205    Filed 06/20/25   Page 3 of 3 PageID 3084




                            CERTIFICATE OF SERVICE

           I, Elias A. Kohn, hereby certify that I have caused a copy of the Motion

  to Withdraw Appearance to be electronically filed with the Clerk of the Court

  using the CM/ECF system, which will send notification of such filing to all

  registered parties.


  Dated: June 20, 2025                         /s/ Elias A. Kohn
                                               Elias A. Kohn

                                               Attorney for Plaintiffs




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